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                                                             LIVEWIRE SERVICES, INC.
                                                          14
                                                                                   UNITED STATES DISTRICT COURT
                                                          15
                                                                                  CENTRAL DISTRICT OF CALIFORNIA
                                                          16
                                                                                         WESTERN DIVISION
                                                          17
                                                             PERFECT 10, INC., a California     Case No.: 11-cv-07098-AB (JPRx)
                                                          18 corporation,
                                                                                                [PROPOSED] ORDER GRANTING
                                                          19                 Plaintiff,         JUDGMENT CREDITOR
                                                                                                GIGANEWS, INC.’S MOTION TO
                                                          20                                    LEVY ON JUDGMENT DEBTOR’S
                                                                   v.                           INTELLECTUAL PROPERTY AND
                                                          21                                    APPOINT A RECEIVER
                                                             GIGANEWS, INC., a Texas
                                                          22 Corporation; et al.                Date:       February 27, 2017
                                                                                                Time:       10:00 a.m.
                                                          23                                    Courtroom: No. 4, 2nd Fl. (Spring Street)
                                                                             Defendants.        Judge:      Hon. André Birotte, Jr.
                                                          24
                                                          25
                                                               AND RELATED CROSS-ACTIONS
                                                          26
                                                          27
                                                          28
                                                               [PROPOSED] ORDER GRANTING                      CASE NO. 11-cv-07098-AB (SHx)
                                                               GIGANEWS’S MOTION TO LEVY
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                                                           1         The Court has considered defendant and judgment creditor Giganews, Inc.’s
                                                           2 (“Giganews”) motion to levy on the intellectual property of plaintiff and judgment
                                                           3 debtor Perfect 10, Inc. (“Perfect 10”), and to appoint a receiver to carry out the
                                                           4 levy. (Dkt. No. 802.) Giganews moves under Fed. R. Civ. Proc. 69(a), and Cal.
                                                           5 Code Civ. Proc. §§ 695.010, 699.710, and 708.620., which together authorize the
                                                           6 district court to enforce a judgment through a writ of execution, and to appoint a
                                                           7 receiver to aid in executing the judgment. The Court finds good cause both to levy
                                                           8 on Perfect 10’s intellectual property and to appoint a receiver to carry that out, for
                                                           9 all of the reasons Giganews stated in its motion. The Court considered all of the
                                                          10 points Perfect10 made in its opposition and finds that they lack merit. The Court
                                                          11 therefore ORDERS as follows:
                                                          12         1.     The Court GRANTS Giganews’s motion.
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                                                          13         2.     The Court APPOINTS David J. Pasternak as a receiver to carry out a
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                                                          14 levy on Perfect 10’s property in accordance with the remainder of this Order. For
                                                          15 the remainder of this order, the term “intellectual property” specifically includes but
                                                          16 is not limited to domain names, copyrights and copyright interests; and trademarks,
                                                          17 trademark interests, and associated goodwill; and related interests.
                                                          18         3.     The receiver may seize and sell any and all intellectual property of
                                                          19 Perfect 10 in order to satisfy this Court’s judgment.
                                                          20         4.     By virtue of the appointment of the receiver, the Court divests Perfect
                                                          21 10 of, and puts under the exclusive control of the receiver, any and all of the
                                                          22 intangible property, including domain names; copyrights or copyright interests; and
                                                          23 trademarks, trademark interests, and associated goodwill that Perfect 10 owns or
                                                          24 possesses.
                                                          25         5.     The receiver shall assume sole and immediate possession, custody and
                                                          26 control of all of Perfect 10’s property and sell that property subject to this Court’s
                                                          27 confirmation and approval in satisfaction of the Judgment.
                                                          28
                                                               [PROPOSED] ORDER GRANTING                1             CASE NO. 11-cv-07098-AB (SHx)
                                                               GIGANEWS’S MOTION TO LEVY
                                                               AND TO APPOINT A RECEIVER
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                                                           1         6.    The receiver shall have the authority to assign and transfer Perfect 10’s
                                                           2 property, as further specified below.
                                                           3         7.    The proceeds of any sales shall be used to satisfy the Judgment, less
                                                           4 the receivership’s reasonable costs and fees;
                                                           5         8.    Any bid for, and purchase of, Perfect 10’s property by Giganews may
                                                           6 be credited against the amounts that Perfect 10 owes Giganews pursuant to the
                                                           7 Judgment. Giganews need not use its own money to bid for, and purchase, Perfect
                                                           8 10’s property. Instead any successful bids and/or purchases may be credited against
                                                           9 Perfect 10’s judgment debt to Giganews.
                                                          10         9.    The receiver may charge as interim fees his standard hourly billing
                                                          11 rate, which is currently $575 per hour, plus reimbursement of costs for the
                                                          12 receiver’s services. The receiver is authorized to employ the services of Pasternak
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                                                          13 & Pasternak, A Law Corporation (in which the receiver and his wife are
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                                                          14 shareholders); SoCal IP Law Group, LLP; and accountants, computer consultants,
                                                          15 and other professionals in connection with his duties administering the receivership
                                                          16 estate and to pay for those services in the amount of the normal fees charged by
                                                          17 those professionals.
                                                          18         10.   The receiver shall:
                                                          19               a.     Take possession, custody and control of, and exclusively and in
                                                          20 his sole discretion, operate, manage, control, exploit, and operate Perfect 10’s
                                                          21 property;
                                                          22               b.     Collect all royalties, rents, issues, profits, and income resulting
                                                          23 from or generated by Perfect 10’s property;
                                                          24               c.     Care for, preserve, operate and maintain Perfect 10’s property;
                                                          25               d.     Use (at his discretion) any tax identification or Social Security
                                                          26 numbers previously used in connection with Perfect 10’s property;
                                                          27
                                                          28
                                                               [PROPOSED] ORDER GRANTING                2             CASE NO. 11-cv-07098-AB (SHx)
                                                               GIGANEWS’S MOTION TO LEVY
                                                               AND TO APPOINT A RECEIVER
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                                                           1               e.     Enter into contracts as the receiver reasonably believes
                                                           2 necessary for the preservation of Perfect 10’s property;
                                                           3               f.     Institute and prosecute all suits as the receiver, upon obtaining
                                                           4 permission of the Court, he may reasonably believe to be necessary in connection
                                                           5 with Perfect 10’s property, and may without further order of the Court defend all
                                                           6 suits and actions as may be instituted concerning Perfect 10’s property;
                                                           7               g.     Negotiate and make financial arrangements for any licenses or
                                                           8 permits that the receiver reasonably believes to be appropriate in connection with
                                                           9 Perfect 10’s property;
                                                          10               h.     Issue subpoenas, conduct and participate in discovery, take
                                                          11 depositions, pursue contempt actions, and otherwise pursue all remedies available
                                                          12 by law to ensure compliance with the receiver’s authority under this Order;
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                                                          13               i.     Incur the expenses necessary for the care, preservation and
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                                                          14 maintenance of Perfect 10’s property; and
                                                          15               j.     To the extent that there are funds available, pay such funds to
                                                          16 Giganews in satisfaction of this Court’s Judgment.
                                                          17         11.   Within sixty (60) days after the issuance of this Order, the receiver
                                                          18 shall file an inventory of all of the assets of which he has taken possession pursuant
                                                          19 to this Order;
                                                          20         12.   The receiver shall prepare and serve monthly statements reflecting the
                                                          21 receiver’s fees and administrative expenses, including fees and costs of the
                                                          22 accountants and attorneys and other professionals authorized by the Court, incurred
                                                          23 for each monthly period in the operation and administration of the receivership
                                                          24 estate. Upon service of each statement, the receiver may disburse from estate
                                                          25 funds, if any, the amount of each statement. Notwithstanding periodic payment of
                                                          26 fees and expenses, all fees and expenses shall be submitted to the Court for its
                                                          27 approval and confirmation, in the form of either a properly noticed interim request
                                                          28
                                                               [PROPOSED] ORDER GRANTING                3            CASE NO. 11-cv-07098-AB (SHx)
                                                               GIGANEWS’S MOTION TO LEVY
                                                               AND TO APPOINT A RECEIVER
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                                                           1 for fees, a stipulation of all parties, or in the receiver’s interim or final account and
                                                           2 report;
                                                           3         13.    The receiver may employ agents, employees, clerks, accountants, and
                                                           4 property managers to administer the receivership estate, purchase materials,
                                                           5 supplies and services, and pay for them at the ordinary and usual rates out of the
                                                           6 funds which shall come into the receiver’s possession and shall do all things and
                                                           7 incur the risks and obligations ordinarily incurred by owners, managers, and
                                                           8 operators of similar property. No such risk or obligation so incurred shall be the
                                                           9 personal risk or obligation of the receiver, but shall be the risk and obligation of the
                                                          10 receivership estate;
                                                          11         14.    The receiver is empowered to establish bank accounts for the deposit
                                                          12 of monies and funds collected and received in connection with the receivership
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                                                          13 estate, at federally insured banking institutions or savings associations which are
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                                                          14 not parties to this case. Monies coming into the possession of the receiver and not
                                                          15 expended for any purposes authorized by this Order shall be held by the receiver in
                                                          16 interest-bearing accounts;
                                                          17         15.    The receiver may issue Receivership Certificates in increments of at
                                                          18 least $10,000 bearing interest at eight percent (8%) per annum for up to $250,000 to
                                                          19 any person or parties, in order to fund and carry out the receivership. All funds
                                                          20 loaned to the receiver pursuant to such Receivership Certificate shall be deemed to
                                                          21 be a lien of first priority which shall be repaid prior to all other encumbrances and
                                                          22 claims, other than costs of administration.
                                                          23         16.    The receiver and the parties to this case may at any time apply to this
                                                          24 Court for further or other instructions or orders and for further powers necessary to
                                                          25 enable the receiver to perform the receiver’s duties properly;
                                                          26         17.    All monies coming into the receiver’s possession shall be expended
                                                          27 only for the purposes herein authorized, unless otherwise ordered by Court;
                                                          28
                                                               [PROPOSED] ORDER GRANTING                 4             CASE NO. 11-cv-07098-AB (SHx)
                                                               GIGANEWS’S MOTION TO LEVY
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                                                           1         18.    The receiver shall determine upon taking possession of the property
                                                           2 whether in the receiver’s judgment there is sufficient insurance coverage. With
                                                           3 respect to any insurance coverage, the receiver shall be named as the insured on the
                                                           4 policies for the period that the receiver shall be in possession of the property. If
                                                           5 sufficient insurance coverage does not exist, the Receiver shall immediately notify
                                                           6 the parties to this lawsuit and shall have thirty (30) calendar days to procure
                                                           7 sufficient insurance for the property; provided, however, that if the receiver does
                                                           8 not have sufficient funds to do so, the receiver shall seek instructions from the
                                                           9 Court with regard to whether insurance shall be obtained and how it is to be paid
                                                          10 for. If consistent with existing law, the receiver shall not be responsible for claims
                                                          11 arising from the lack of procurement or inability to obtain insurance;
                                                          12         19.    Discharge of the receiver shall require a court order after a properly
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                                                          13 noticed motion approving the receiver’s final report and account and exoneration of
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                                                          14 the receiver’s bond;
                                                          15         20.    The parties, and each of them, on receipt of this Order shall provide
                                                          16 the receiver with all tax identification numbers utilized in connection with Perfect
                                                          17 10’s property. The receiver shall also be entitled to utilize the tax identification
                                                          18 numbers during his possession of Perfect 10’s property. The Receiver shall not be
                                                          19 responsible for filing any federal or state tax returns on behalf of Perfect 10.
                                                          20         21.    The receiver is authorized to have all mail, other deliveries, and
                                                          21 notices concerning Perfect 10’s property forwarded to an address to be designated
                                                          22 by him;
                                                          23         22.    IT IS FURTHER ORDERED that Perfect 10 and its respective owners,
                                                          24 officers, directors, agents, partners, property managers, employees, assignees,
                                                          25 successors, attorneys, representatives, and all persons acting under, in concert with,
                                                          26 or for them (specifically including Norman Zada, Melanie Poblete, Bruce Hersh,
                                                          27 Gwendalyn Augustine, Jennifer Snow McCall, and Sean Chumura):
                                                          28
                                                               [PROPOSED] ORDER GRANTING                5             CASE NO. 11-cv-07098-AB (SHx)
                                                               GIGANEWS’S MOTION TO LEVY
                                                               AND TO APPOINT A RECEIVER
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                                                           1                a.     Shall immediately relinquish and turn over possession of Perfect
                                                           2 10’s intellectual property, including but not limited to all or their profits and
                                                           3 proceeds (including any cash) to the receiver forthwith upon his appointment
                                                           4 becoming effective;
                                                           5                b.    Shall immediately turn over to the receiver and direct all other
                                                           6 third parties in possession thereof to turn over to the receiver all registrations,
                                                           7 books, records, books of account, ledgers, operating statements, budgets, bills,
                                                           8 contracts, choses in action, and all other business records relating to Perfect 10’s
                                                           9 intellectual property, wherever located, and in whatever mode maintained,
                                                          10 including information contained on computers, and any and all software or
                                                          11 databases relating thereto as well as all banking records, statements and cancelled
                                                          12 checks;
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                                                          13                c.    Shall immediately turn over to the receiver all documents that
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                                                          14 pertain to all registrations, licenses, permits, or government actions or approvals
                                                          15 relating to Perfect 10’s intellectual property and shall immediately advise the
                                                          16 receiver of any social security or taxpayer identification numbers used in
                                                          17 connection with Perfect 10’s intellectual property;
                                                          18                d.    Shall immediately advise the receiver as to the nature and extent
                                                          19 of insurance coverage for Perfect 10’s intellectual property. Perfect 10 shall
                                                          20 immediately name the receiver as an insured on the insurance policy(ies) for the
                                                          21 period that the receiver shall be in possession of Perfect 10’s intellectual property.
                                                          22 Perfect 10 and its agents and representatives are prohibited from canceling,
                                                          23 reducing or modifying any and all insurance coverage currently in existence with
                                                          24 respect to Perfect 10’s domain names, copyrights and/or trademarks and
                                                          25 accompanying goodwill and shall fully assist receiver in transferring said insurance
                                                          26 for the benefit of the receiver; and
                                                          27
                                                          28
                                                               [PROPOSED] ORDER GRANTING                 6            CASE NO. 11-cv-07098-AB (SHx)
                                                               GIGANEWS’S MOTION TO LEVY
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                                                           1                e.    Shall cooperate with and fully assist the receiver with respect to
                                                           2 his possession and attempts to sell Perfect 10’s property or interests therein,
                                                           3 including but not limited to promptly responding to any inquiry by the Receiver for
                                                           4 information;
                                                           5         23.    IT IS FURTHER ORDERED that, immediately and until such further
                                                           6 Order of this Court, Perfect 10 and its agents, partners, property managers,
                                                           7 employees, assignees, successors, attorneys, representatives, and all other persons
                                                           8 acting in concert with them who have actual or constructive knowledge of this
                                                           9 Order, and their agents and employees shall not:
                                                          10                a.    Commit or permit any waste on any of Perfect 10’s property or
                                                          11 any part thereof, of suffer or commit or permit any act on Perfect 10’s property or
                                                          12 any part thereof, or suffer or commit or permit any act on Perfect 10’s property or
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                                                          13 any part thereof in violation of any law, or alienate, remove, transfer, encumber or
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                                                          14 otherwise dispose of any of Perfect 10’s property or any part thereof;
                                                          15                b.    Directly or indirectly interfere in any manner with the discharge
                                                          16 of the receiver’s duties under this Order or the receiver’s possession of and
                                                          17 operation and attempts to sell Perfect 10’s property;
                                                          18                c.    Expend, disburse, transfer, assign, sell, convey, devise, pledge,
                                                          19 mortgage, create a security interest in, encumber, conceal or in any manner
                                                          20 whatsoever deal in or dispose of the whole or any part of Perfect 10’s property or
                                                          21 any of its proceeds without prior specific Order of this Court;
                                                          22                d.    Withhold any of Perfect 10’s property or books or records
                                                          23 regarding Perfect 10’s property, or funds generated from Perfect 10’s property from
                                                          24 the receiver; and
                                                          25                e.    Do any act which will, or which will tend to impair, defeat,
                                                          26 divert, prevent or prejudice the preservation of Perfect 10’s property, profits, or
                                                          27 proceeds;
                                                          28
                                                               [PROPOSED] ORDER GRANTING                7            CASE NO. 11-cv-07098-AB (SHx)
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